      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ENDURANCE SERVICES LIMITED, and
 SOMPO INTERNATIONAL HOLDINGS                             Case No. 1:21-cv-07852-LGS-DCF
 LTD.,
                                                       [PROPOSED] STIPULATED
                Plaintiffs,                          CONFIDENTIALITY AGREEMENT
                                                       AND PROTECTIVE ORDER
         - against -

 WESTFIELD INSURANCE COMPANY,
 WESTFIELD SPECIALTY, INC., and JOHN
 AND JANE DOES 1-5,

                Defendants.



       WHEREAS, the parties to this action (collectively the “Parties” and individually a “Party”)

request that this Court issue a protective order pursuant to Federal Rule of Civil Procedure 26(c)

to protect the confidentiality of nonpublic and sensitive information that they may need to disclose

in connection with this action;

       WHEREAS, the Parties, through counsel, agree to the following terms;

       WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords only

extends to limited information or items that are entitled, under the applicable legal principles, to

confidential treatment;

       WHEREAS, the Parties further acknowledge that this Protective Order does not create

entitlement to file confidential information under seal; and

       WHEREAS, in light of these acknowledgements, and based on the representations of the

Parties that discovery in this case will involve confidential documents or information the public

disclosure of which will cause harm to the producing person and/or third party to whom a duty of
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 2 of 11



confidentiality is owed, and to protect against injury caused by dissemination of confidential

documents and information, this Court finds good cause exists for issuance of an appropriately

tailored confidentiality order governing this action,

       IT IS HEREBY ORDERED that any person subject to this Order – including without

limitation the Parties to this action (including their respective corporate parents, successors, and

assigns), their representatives, agents, experts and consultants, all third parties providing discovery

or other material in this action, and all other interested persons with actual or constructive notice

of this Order – will adhere to the following terms:

       1.      With respect to “Discovery Material” (i.e., information of any kind produced or

disclosed in the course of this action) that a person has designated as “Confidential” or “Highly

Confidential” pursuant to this Order, no person subject to this Order may disclose such

Confidential or Highly Confidential Discovery Material to anyone else except as this Order

expressly permits.

       2.      The Party or person producing or disclosing Discovery Material (“Producing

Party”) may designate as Confidential any Discovery Material or portion of Discovery Material

that the Producing Party reasonably and in good faith believes contains non-public business,

commercial, financial, or personal information, the public disclosure of which is either restricted

by law or could, in the good faith opinion of the Producing Party, adversely affect a person’s

privacy obligations or policies, business, commercial, financial, or personal interests.

       3.      With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the Producing Party or its counsel may designate such portion

as “Confidential” by: (a) stamping or otherwise clearly marking as “Confidential” the protected

portion in a manner that will not interfere with legibility or audibility; and (b) upon a document-




                                                  2
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 3 of 11



by-document request by a receiving Party with a showing of good cause, producing for future

public use another copy of said Discovery Material with the Confidential information redacted.

       4.      The Producing Party may designate as Highly Confidential any Discovery Material

or portion of Discovery Material that the Producing Party reasonably and in good faith believes, if

known by another party or nonparty, would create a substantial risk of injury to the Producing

Party that could not be avoided by less restrictive means.

       5.      With respect to the Highly Confidential portion of any Discovery Material other

than deposition transcripts and exhibits, the Producing Party or its counsel may designate such

portion as “Highly Confidential” by: (a) stamping or otherwise clearly marking as “Highly

Confidential – Attorney’s Eyes Only” the protected portion in a manner that will not interfere with

legibility or audibility; and (b) upon a document-by-document request by a receiving Party with a

showing of good cause, producing for future public use another copy of said Discovery Material

with the Highly Confidential information redacted.

       6.      A Producing Party or its counsel may designate deposition exhibits or portions of

deposition transcripts as Confidential or Highly Confidential Discovery Material either by: (a)

indicating on the record during the deposition that a question calls for Confidential or Highly

Confidential Information, in which case the reporter will bind the transcript of the designated

testimony in a separate volume and mark it as “[Highly] Confidential Information Governed by

Protective Order;” or (b) notifying the reporter and all counsel of record, in writing, within 15 days

after the deposition transcript is received from the reporter, of the specific pages and lines of the

transcript that are to be designated Confidential or Highly Confidential, in which case all counsel

receiving the transcript will be responsible for marking the copies of the designated transcript in

their possession or under their control as directed by the Producing Party or that person’s counsel.




                                                  3
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 4 of 11



During the 15-day period following receipt of a deposition transcript, all Parties will treat the entire

deposition transcript as if it had been designated Highly Confidential.

        7.      If at any time before the trial of this action a Producing Party realizes that it should

have designated as Confidential or Highly Confidential some portion(s) of Discovery Material that

it previously produced without limitation, the Producing Party may so designate such material by

so apprising all prior recipients in writing. Thereafter, this Court and all persons subject to this

Order will treat such designated portion(s) of the Discovery Material as Confidential or Highly

Confidential.

        8.      Nothing contained in this Order will be construed as: (a) a waiver by a Party or

person of its right to object to any discovery request; (b) a waiver of any privilege or protection;

or (c) a ruling regarding the admissibility at trial of any document, testimony or other evidence.

        9.      Where a Producing Party has designated Discovery Material as Confidential, other

persons subject to this Order may disclose such information only to the following persons:

                a. the Parties to this action, including employees of each Party where such

                    disclosure is reasonably necessary to support the prosecution or defense of this

                    case;

                b. counsel retained specifically for this action, including any paralegal, clerical, or

                    other assistant that such outside counsel employs and assigns to this matter, as

                    well as internal counsel who are employees of each Party;

                c. outside vendors or service providers (such as copy-service providers and

                    document-management consultants) that counsel hire and assign to this matter;




                                                   4
     Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 5 of 11



              d. any mediator or arbitrator that the Parties engage in this matter or that this Court

                   appoints, provided such person has first executed a Non-Disclosure Agreement

                   in the form annexed as an Exhibit hereto;

              e. as to any document, its author, its addressee, and any other person indicated on

                   the face of the document as having received a copy;

              f. any witness who counsel for a Party in good faith believes may be called to

                   testify at trial or deposition in this action, provided such person has first

                   executed a Non-Disclosure Agreement in the form annexed as an Exhibit

                   hereto;

              g. any person a Party retains to serve as an expert witness or otherwise provide

                   specialized advice to counsel in connection with this action, provided such

                   person has first executed a Non-Disclosure Agreement in the form annexed as

                   an Exhibit hereto;

              h. counsel retained to represent Daniel Wadley and Jeff Kulikowski in the

                   arbitration proceeding captioned Sompo International Holdings Ltd. v. Wadley,

                   et al., provided such counsel has first executed a Non-Disclosure Agreement in

                   the form annexed as an Exhibit hereto;

              i.   stenographers engaged to transcribe depositions the Parties conduct in this

                   action; and

              j.   this Court, including any appellate court, its support personnel, and court

                   reporters.

       10.    Where a Producing Party has designated Discovery Material as Highly

Confidential, other persons subject to this Order may disclose such information to the persons




                                                 5
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 6 of 11



listed in paragraphs 9(b) through 9(e) and 9(g) through 9(j) only.      Such Highly Confidential

Discovery Material may also be disclosed to up to two in-house lawyers of a Party who: (a) do not

have decision-making authority with respect to hiring and firing decisions and (b) have executed

and agree to be bound by the Non-Disclosure Agreement in the form annexed hereto.

       11.     Before disclosing any Confidential Discovery Material to any person referred to in

subparagraphs 9(d), 9(f), or 9(g) above, or any Highly Confidential Discovery Material to any

person referred to in subparagraphs 9(d) or 9(h) above, counsel must provide a copy of this Order

to such person, who must sign a Non-Disclosure Agreement in the form annexed as an Exhibit

hereto stating that he or she has read this Order and agrees to be bound by its terms. Said counsel

must retain each signed Non-Disclosure Agreement, hold it in escrow, and produce it to opposing

counsel either (a) before such person is permitted to testify (at deposition or trial), (b) at the

conclusion of the case, or (c) upon request, whichever comes first.

       12.     Any party seeking to file any documents under seal, regardless of whether such

documents contain Confidential or Highly Confidential Discovery Material, must do so in

accordance with the procedures outlined in Rule I.D.3. of Judge Schofield’s Individual Rules and

Procedures for Civil Cases.

       13.     Any Party who objects to any designation of confidentiality may at any time before

the trial of this action serve upon counsel for the Producing Party a written notice stating with

particularity the grounds of the objection. If the Parties cannot reach agreement promptly, counsel

for all affected Parties will address their dispute to this Court in accordance with Rule III.C.3 of

Judge Schofield’s Individual Rules and Procedures for Civil Cases.

       14.     Any Party who requests additional limits on disclosure may at any time before the

trial of this action serve upon counsel for the recipient Parties a written notice stating with




                                                 6
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 7 of 11



particularity the grounds of the request. If the Parties cannot reach agreement promptly, counsel

for all affected Parties will address their dispute to this Court in accordance with Rule III.C.3 of

Judge Schofield’s Individual Rules and Procedures for Civil Cases.

       15.     Recipients of Confidential or Highly Confidential Discovery Material under this

Order may use such material solely for the prosecution and defense of this action and any appeals

thereto, and not for any business, commercial, or competitive purpose or in any other litigation

proceeding. Nothing contained in this Order, however, will affect or restrict the rights of any Party

with respect to its own documents or information produced in this action.

       16.     Nothing in this Order will prevent any Party from producing any Confidential or

Highly Confidential Discovery Material in its possession in response to a lawful subpoena or other

compulsory process, or if required to produce by law or by any government agency having

jurisdiction, provided that such Party gives written notice to the Producing Party as soon as

reasonably possible, and if permitted by the time allowed under the request, at least 10 days before

any disclosure. Upon receiving such notice, the Producing Party will bear the burden to oppose

compliance with the subpoena, other compulsory process, or other legal notice if the Producing

Party deems it appropriate to do so.

       17.     Each person who has access to Discovery Material designated as Confidential or

Highly Confidential pursuant to this Order must take all due precautions to prevent the

unauthorized or inadvertent disclosure of such material.

       18.     In the event additional parties appear, join, or are joined in this action, they shall

not have access to Confidential or Highly Confidential Discovery Material until the newly

appearing or joined party by its counsel has executed and filed with the Court its agreement to be

fully bound by this Order.




                                                 7
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 8 of 11



       19.     Any Personally Identifying Information (“PII”) (e.g., social security numbers,

financial account numbers, passwords, and information that may be used for identity theft)

exchanged in discovery shall be maintained by the persons who receive such information and are

bound by this Order in a manner that is secure and confidential.        In the event that the person

receiving PII experiences a data breach, she, he, or it shall immediately notify the Producing Party

of the same and cooperate with the Producing Party to address and remedy the breach. Nothing

herein shall preclude the Producing Party from asserting legal claims or constitute a waiver of legal

rights or defenses in the event of litigation arising out of the receiving person’s failure to

appropriately protect PII from unauthorized disclosure.

       20.     Within 60 days of the final disposition of this action — including all appeals — all

recipients of Confidential or Highly Confidential Discovery Material must either return it —

including all copies thereof — to the Producing Party, or, upon permission of the Producing Party,

destroy such material — including all copies thereof. In either event, by the 60-day deadline, the

recipient must certify its return or destruction by submitting a written certification to the Producing

Party that affirms that it has not retained any copies, abstracts, compilations, summaries, or other

forms of reproducing or capturing any of the Confidential or Highly Confidential Discovery

Material. Notwithstanding this provision, the attorneys that the Parties have specifically retained

for this action may retain an archival copy of all pleadings, motion papers, transcripts, expert

reports, legal memoranda, correspondence, or attorney work product, even if such materials

contain Confidential or Highly Confidential Discovery Material. Any such archival copies that

contain or constitute Confidential or Highly Confidential Discovery Material remain subject to

this Order.




                                                  8
      Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 9 of 11



       21.     This Order will survive the termination of the action and will continue to be binding

upon all persons to whom Confidential or Highly Confidential Discovery Material is produced or

disclosed.

       22.     All persons subject to this Order acknowledge that willful violation of this Order

could subject them to punishment for contempt of Court. This Court will retain jurisdiction over

all persons subject to this Order to the extent necessary to enforce any obligations arising hereunder

or to impose sanctions for any contempt thereof.

       23.     The Parties acknowledge that the Court retains discretion as to whether, in Orders

and Opinions, to afford confidential treatment to information that the Parties have redacted, sealed,

or designated as Confidential/Highly Confidential.




  Dated: November 15, 2021
  New York, New York




                                                  9
     Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 10 of 11



              SO STIPULATED AND AGREED.

Dated: November 11, 2021
       New York, New York

 PROSKAUER ROSE LLP                             FOX ROTHSCHILD LLP


 /s/ Steven M. Kayman                           /s/ John J. Haggerty
 Steven M. Kayman                               John J. Haggerty, Esq. (admitted pro hac vice)
 Tiffany M. Woo                                 James C. Clark, Esq.
 Javier F. Sosa (pro hac vice forthcoming)      2700 Kelly Road Suite 300 Warrington, PA
 11 Times Square                                18976
 New York, New York 10036                       Tel: 215.345.7500
 (212) 969-3000                                 Fax: 215.345.7507
 skayman@proskauer.com                          JHaggerty@FoxRothschild.com
 twoo@proskauer.com                             JClark@FoxRothschild.com
 jsosa@proskauer.com
                                                Attorneys for Defendants
 James R. Anderson (pro hac vice                Westfield Insurance Company
 forthcoming)                                   and Westfield Specialty Inc.
 One International Place
 Boston, Massachusetts 02110
 (617) 526-9600
 jaanderson@proskauer.com

 Attorneys for Plaintiffs Endurance Services
 Limited and Sompo International Holdings
 Ltd.




Dated: New York, New York

November 15
         __, 2021

                                               SO ORDERED.



                                               __________________________________
                                               Lorna G. Schofield
                                               United States District Judge




                                                10
     Case 1:21-cv-07852-LGS-DCF Document 33 Filed 11/15/21 Page 11 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ENDURANCE SERVICES LIMITED, and
 SOMPO INTERNATIONAL HOLDINGS                             Case No. 1:21-cv-07852-LGS-DCF
 LTD.,
                                                      NON-DISCLOSURE AGREEMENT
                Plaintiffs,

         - against -

 WESTFIELD INSURANCE COMPANY,
 WESTFIELD SPECIALTY, INC., and JOHN
 AND JANE DOES 1-5,

                Defendants.



       I, _______________________________, acknowledge that I have read and understand the

Protective Order in this action governing the non-disclosure of those portions of Discovery

Material that have been designated as Confidential and Highly Confidential. I agree that I will not

disclose such Confidential or Highly Confidential Discovery Material to anyone other than for

purposes of this litigation and that at the conclusion of the litigation I will return all discovery

information to the Party or attorney from whom I received it. By acknowledging these obligations

under the Protective Order, I understand that I am submitting myself to the jurisdiction of the

United States District Court for the Southern District of New York for the purpose of any issue or

dispute arising hereunder and that my willful violation of any term of the Protective Order could

subject me to punishment for contempt of Court.



Dated: _________________________                     _______________________________




                                                11
